
542 S.E.2d 651 (2000)
351 N.C. 365
STATE of North Carolina
v.
Michael Leonard LUNDY and Ronald Lee Evans.
No. 498P99.
Supreme Court of North Carolina.
February 3, 2000.
John F. Oates, Jr., Raleigh, for Lundy.
Karl E. Knudsen, Raleigh, for Evans.
Robert T. Hargett, Special Deputy Attorney General, C. Colon Willoughby, Jr., District Attorney, for State.
Prior report: 135 N.C.App. 13, 519 S.E.2d 73.


*652 ORDER

Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant (Lundy) in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 3rd day of February 2000."
Upon consideration of the petition filed by Defendant (Lundy) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of February 2000."
